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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA




 DR. DOROTHY NAIRNE, JARRETT LOFTON,
 REV. CLEE EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, ALEXIS
 CALHOUN, BLACK VOTERS MATTER
 CAPACITY BUILDING INSTITUTE, and THE
 LOUISIANA STATE CONFERENCE OF THE                         Civil Action No. 3:22-cv-00178
 NAACP,

                         Plaintiffs

        v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                        Defendants



                   MOTION FOR LEAVE TO SUBSTITUTE PLEADING

       NOW INTO COURT, through undersigned counsel, comes Defendant, the State of

Louisiana, through Attorney General Liz Murrill, who respectfully requests this Court to grant

leave to substitute the attached Transcript Order Form for the Transcript Order Form previously

filed by counsel pro hac vice on March 1, 2024 as R. Doc 252.

       WHEREFORE, Defendant, the State of Louisiana, through Attorney General Liz Murrill,

respectfully prays that the Court permit the attached Transcript Request to be filed in this matter.




                                              Respectfully submitted,

                                              LIZ MURRILL
                                              ATTORNEY GENERAL

                                      BY:     /s/ Carey T. Jones_______________
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                                            Counsel for Defendant State of Louisiana


                               CERTIFICATE OF SERVICE

        I CERTIFY I have served the foregoing was filed electronically and served on counsel for
the parties by electronic notification by CM/ECF on March 11, 2024.

                                       /s/ Carey T. Jones
                                         Carey T. Jones
